                           Case 8:23-bk-01727-CPM                          Doc 66          Filed 02/29/24              Page 1 of 3
                                                              United States Bankruptcy Court
                                                                Middle District of Florida
In re:                                                                                                                 Case No. 23-01727-CPM
Xavier Charles Washington, II                                                                                          Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 113A-8                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Feb 27, 2024                                               Form ID: pdfADIdt                                                          Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Feb 29, 2024:
Recip ID                 Recipient Name and Address
db                     + Xavier Charles Washington, II, 807 W. Azeele St., Tampa, FL 33606-2209

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Feb 29, 2024                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on February 26, 2024 at the address(es) listed
below:
Name                               Email Address
Allison D Thompson
                                   on behalf of Creditor BARCLAYS MORTGAGE TRUST 2021-NPL1 MORTGAGE-BACKED SECURITIES, SERIES
                                   2021-NPL1, BY U.S. BANK NATIONAL ASSOCIATION, AS INDENTURE TRUSTEES adt@mechaniknuccio.com

Gavin Stewart
                                   on behalf of Creditor Bridgecrest Acceptance Corporation bk@stewartlegalgroup.com

Jon Waage
                                   jwflecf@trustee13.com

Kelley M Petry
                                   on behalf of Debtor Xavier Charles Washington II kpetry@robertgellerlaw.com,
                                   petry.kelleyr64129@notify.bestcase.com,attorneyrobertmgeller@gmail.com;gellernotices@gmail.com;petry.kelleyr64129@notify
                                   .bestcase.com;geller.robertm.b125896@notify.bestcase.com

Michael D Lessne
                                   on behalf of Creditor ASB Sunset Electric LLC michael@lessne.law
                          Case 8:23-bk-01727-CPM                         Doc 66         Filed 02/29/24            Page 2 of 3
District/off: 113A-8                                                 User: admin                                                           Page 2 of 2
Date Rcvd: Feb 27, 2024                                              Form ID: pdfADIdt                                                    Total Noticed: 1
Tiffany Love McElheran
                                     on behalf of Attorney Avenida De Flores Townhomes Association Inc. tiffany.love@arlaw.com, cindy.kelly@arlaw.com

United States Trustee - TPA7/13, 7
                                     USTPRegion21.TP.ECF@USDOJ.GOV


TOTAL: 7
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[Doepvhlt] [District Order Establishing Procedures for Video Hearings − Limited Parties]




                                             ORDERED.
Dated: February 26, 2024




                                     UNITED STATES BANKRUPTCY COURT
                                        MIDDLE DISTRICT OF FLORIDA
                                              TAMPA DIVISION
                                             www.flmb.uscourts.gov



In re:                                                                                     Case No.
                                                                                           8:23−bk−01727−CPM
                                                                                           Chapter 13

Xavier Charles Washington II
aka Xavier Charles Alexander Washington II




                     Debtor*                        /

                      ORDER ESTABLISHING PROCEDURES FOR VIDEO HEARINGS

   The Court will permit attorneys and parties to attend the hearing scheduled for March 6, 2024 at 1:35 PM
(the "Hearing") by telephone or video via Zoom.

Accordingly, it is

   ORDERED:

   1. Parties are directed to consult the Court's Procedures Governing Court Appearances, available at
https://www.flmb.uscourts.gov/judges/mcewen regarding policies and procedures for attendance at hearings
by video or telephone via Zoom. If you are unable to access the Court's website, please contact the Courtroom
Deputy at 813−301−5151 no later than 3:00 p.m. one business day before the date of the hearing.

   2. Participants are reminded that photographing, recording, or further broadcasting the Hearing is strictly
prohibited. Violation of these prohibitions may result in sanctions. All hearings will continue to be recorded
using the Court's official digital recording system. The process for requesting an official transcript has not
changed.


   The Clerk is directed to serve a copy of this order on all interested parties.

*All references to "Debtor" shall include and refer to both of the debtors in a case filed jointly by two
individuals.
